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        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT



                                       No. 14-4311



                         Chesapeake Appalachia, LLC v. Burkett



To: Clerk


       1) Response by Appellant to Clerk’s Order dated August 10, 2020

       2) Response by Appellees to Clerk’s Order dated August 10, 2020


        As Appellant was the plaintiff below, the automatic stay does not apply to this
case. However, the above-docketed appeal was already stayed on January 12, 2015. As
the settlement proceedings in Demchak Partners Limited Partnership v. Chesapeake
Appalachia, LLC, M.D. Pa. No. 3-13-cv-02289, are still pending, that stay will remain in
place. The parties must continue to file status reports as directed in the January 12, 2015
Clerk’s Order. The next status report must be filed on or before October 5, 2020.



For the Court,

s/ Patricia S. Dodszuweit
Clerk


Dated: September 18, 2020
ARR/cc:
Daniel T. Brier, Esq.
Daniel T. Donovan, Esq.
Ragan Naresh, Esq.
Douglas A. Clark, Esq.
Rachel J. Schulman, Esq.
